          Case 2:19-cv-01659-APG-NJK Document 51 Filed 10/21/21 Page 1 of 1




 1

 2

 3

 4

 5                             UNITED STATES DISTRICT COURT

 6                                    DISTRICT OF NEVADA

 7 Mariano Madrid,                                    Case No.: 2:19-cv-01659-APG-NJK

 8          Petitioner
                                                                        ORDER
 9 v.

10 Jerry Howell, et al.,

11          Respondents

12

13         Petitioner Madrid moves for an extension of time within which to file his Reply to the

14 State’s Answer in this is federal habeas proceeding under 28 U.S.C. § 2254. ECF No. 50. Good

15 cause appearing, I will grant the motion.

16         I THEREFORE ORDER that Madrid has until January 5, 2022, to file his Reply.

17         Dated: October 21, 2021

18                                                     __________________________________
                                                       U.S. District Judge Andrew P. Gordon
19

20

21

22

23
